            Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 1 of 48 PageID #:204


 FILED
     Nov r 4   zo$fil\              UNITED STATES DISTRICT COURT
    THOMASG. BRUTON                 NORTHERN DISTRICT OF ILLINOIS               JUDGE CHANG
CLERK, U.S. DISTRICT COURT                EASTERN DIVISION
                                                                         MAGISTRATE JUDGE CUMMINGS
       UNITED STATES OF AMERICA
                                                         No. 19 CR 669 (EEC)
                          v.
                                                        Violations: Title 7, United States Code,
       GREGG SMITH,                                      Sections 6c(a)(5)(C) and         13(a)(2);
       MICHAEL NOWAK,                                   Title 18, United States Code, Sections
       JEFFREY RUFFO, and                               37 L, L343, 1344(7), 1348(1), and 1962(d)
       CHRISTOPHER JORDAN,

          Defendants.

                                      SUPERSEDING INDI CTMENT

               The SPECIAL MAY 2li.lg GRAND ruRY charges:

                                          COUNT ONE
          (Conspiracy to Conduct or Participate in an Enterprise Engaged in a Pattern of
                                     Racketeering Activity)

               At   a1l   times relevant to this Superseding Indictment, unless otherwise noted:

                                            Market Backeround

               1.         Precious metals were rare, naturally occurring metals of high economic

       value. They included gold, silver, platinum, and palladium. These precious metals

       were commodities that had both investment and industrial uses ranging from jewelry

       to computer memory chips to catalytic converters in engines.

               2.         One way to trade precious metals was by buying and selling "futures

       contracts." A futures contract was an agreement to buy or sell a particular product

       (such as gold, for example) at a fixed price but to be delivered and paid for later.     In

       other words, the buyer and seller agreed at the time they entered into the contract on

       a price for a product to be delivered (by the seller) in exchange for money (to be
      Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 2 of 48 PageID #:205




provided by the buyer) on a future date. Futures contracts were traded on markets

designated and regulated        by the United States Commodity Futures Trading
Commission ("CFTC").

        3.    For many years, the pred.ominant. method of trading futures contracts

was through brokers who physically sat on commod.ities trading floors or "pits." By

the mid-2000s, however, computerized trading through electronic platforms rapidly

began to replace pit trading.

        4.    With the rise of electronic trading, certain traders developed. algorithmic

trading programs that used mathematical formulas to process market information

and place orders at extraord.inary speeds. In response, some non-algorithmic (or

"manuall') traders devised unlawful trading strategies to attempt to gain an unfair

edge over algorithmic traders. One of these strategies involved placing orders to buy

or seII futures contracts with the intent to cancel those orders before execution, an

unlawful practice that became known as "spoofing."

                                   Relevant Entities

        5.    Bank A, together with its subsidiaries and affiliates, was a global
  ,




banking and financial services company that was head.quartered. in New York, New

York. Bank A had operations in the United States and abroad, and"operated a global

commod.ities trading business    that included the trading of precious metals futures

contracts and options. Bank A was a financial institution within the definition of

Tit1e 18, United States Code, Section20.
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 3 of 48 PageID #:206




          6.   Bank    A ran one of the world's largest precious metals businesses
through its Global Commodities Group. Bank A's precious metals trad.ers worked in

offices   in New York, Singapore,.and London, England, and operated as part of a
single, cohesive global unit or "desk" (the "Precious Metals Desk at Bank A").

          7.   Bank B, together with its subsidiaries and affiliates, was a global

banking and financial services company that wab headquartered in New York, New

York. Bank B operated a global commodities trad.ing business that included the

trading of precious metals futures contracts. In March 2008, Bank A announced a

merger agreement to acquire Bank B, and the acquisition was completed.            in May

2008.1 In connection   with the acquisition, certain precious metals traders joined Bank

A from Bank B.

          8.   Bank C, together with its subsid.iaries and affiIiates, was a global

banking and fi.nancial services company that was headquartered               in   Zurich,

Switzerland. Bank C also had" operations in the United States and operated a global

commodities trading business that included the trading of precious metals futures

contracts. A branch of Bank.C     in New York was a financial institution within the

definition of Title l-8, United States Code, Section 20.

               Company D was an investment firm based        in New York. Company      D

operated a global commodities trading business that included the trad.ing of precious

metals futures contracts.




1A11 dates, times, and numbers     in this Superseding Indictment are approximate. All
times are in Central Standard Time or Central Daylight Time.
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 4 of 48 PageID #:207




       10.    Hedge Funds E and F were global investment management firms that

invested in precious metals, among other products.

       11.    The CME Group Inc. ('CME Group") was a commod.ities marketplace

made up of several exchanges, including the Commodity Exchange, Inc. ("COMEX')

and New York Mercantile Exchange, fnc. ('I\MVIEX"), each of which was a "registered

entity''with the CFTC.

       L2.    Gold and. silver futures contracts were traded on COMI'IX, and platinum

and palladium futures contiacts were traded on NYMEX. COMEX and I\MVIEX

utilized the "Globex" electronic trading system, which allowed. market participants to

trade futures contracts on those exchanges from anywhere in the world. The CME

Group operated Globex using computer servers located in and around Chicago and

Aurora, Illinois.                     I




                           Futures Trading Mechanics

       13.    Precious metals traders using Globex could place orders in the form of

"bid.s" to buy or "offers" to sell one or more futures contracts at various prices. An

order was "filled." or "executed" when a buyer's bid price and. a seller's offer price

matched for a particular contract.

       14. An "iceberg' order was a type of order that a trader could place on
COMEX and NYMEX that did not display the ord.er's full size to other market

participants. OnIy a pre-set portion of an iceberg order was visible at any given time.

When the visible portion was filled, the next pre-set portion of the ord.er became

visible, and so forth.




                                           4
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 5 of 48 PageID #:208




                                         Options

       15.       An "option" was a derivative financial product whose value was tied to

the value of an underlying asset (such as a physical commodity). An option contract

offered the purchaser of the option the right (but not the obligation) to buy or sell the

underlying asset at an agreed-upon price during a certain period of time or on a

specific date.

       16.       A "barrier" option was a type of option whose value depended on whether

or not the underlying asset reached or exceeded a predetermined price during the

lifetime of the option. "Barrier-running" was the unlawful practice of maneuvering

the market price for the underlying asset toward, a particular price point             to

d.eliberately trigger a barrier option. "Barrier-defending" was the unlawful practice

of maneuvering the market price for the underlying asset away from a particular

price point in order to avoid triggering a barrier option.

                  The Enterprise. Defendants. and Co-Conspirators

       t7.       The Precious Metals Desk at Bank A constituted an "enterprise" within

the definition of Title 18, United States Code, Section 1961(4), that is, a group of

individuals associated in fact. The enterprise was engaged in, and its activities

affected, interstate and foreign commerce.

       l-8.      At various times between March 2008 and August 2016 (the "Conspiracy

Period"), each of the defendants, GREGG SMITH, MICHAEL NOWAK, JEFFREY

RUFFO, and CHRISTOPHER JORDAN (collectively, the "Defend.ants"), was an

employee of Bank A through its subsidiaries and affiIiates, and was employed on, and
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 6 of 48 PageID #:209




associated with, the above-described enterprise, the Precious Meta1s Desk at Bank A.

More specifically:

             a.      SMITH was employed as     a   precious metals trader at Bank B from

      May 2007 until its acquisition by Bank A in May 2008. For the remainder of

      the Conspiracy Period, SMITH was employed. as an Executive Director and

      trader on the Precious Meta1s Desk at Bank A in New York.

             b.      NOWAK began working           at Bank A in July    1996. NOWAK

      supervised and was employed as a Managing Director and trader on the

      Precious Metals Desk    at Bank A for the entirety of the Conspiracy Period.

      During the Conspiracy Period, NOWAK worked at Bank lt's offices in New

      York and. Lond.on.

             c.      RUFFO was employed as a salesperson at Bank B from May 2007

      until its acquisition by Bank A p May 2008. For the remainder'of the
      Conspiracy Period., RUFFO was employed as an Executive Director and

      salesperson on the Precious Meta1s Desk at Bank A in New York, specializing

      in hedge fund sales. nUf'f'O's clients   includ.ed. Hedge Fund.s E and F. RUFFO

      left Bank A in August 2017 .

             d.      JORDAN began working at Bank           A in March 2006. He was
      employed as     a trader on the Precious Meta1s Desk at Bank A from the
      beginning of the Conspiracy Period until leaving Bank A in December 2009.

      JORDAN worked. at Bank.{s offices            in New York and was an Executive
       Director at the time of his departure. After leaving Bank A, JORDAN worked.




                                          6
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 7 of 48 PageID #:210




      as a precious metals trader at Bank C's offices       in New York from March 2010

      until August 2010. Next, from June 2011 until October IOI!,JORDAN traded

      precious metals futures contracts as an employee of Company D in New York.

       19.   John Edmond.s began working at BankA in July 2OO4.He was employed

as a clbrk and   in   a back-offi.ce operations role supporting Bank A's precious metals

traders from the beginning of the Conspiracy Period. until May 2009. After that,

Edmonds was employed as a trader on the Precious Metals Desk at Bank               A until

Ieaving Bank A in Augu     st   2Ol7 .He was a Vice President at the time of his departure.

       20.   Christian Trunz was employed. as a precious metals trader at Bank B

from July 2007 until its acquisition by Bank A in May 2008. For the remainder of the

Conspiracy Period., Trunz was employed. as a trader on the Precious Metals Desk at

Bank A. Trunz worked at Bank lt's offi.ces           in New York until     June 2013. He

transferred to Bank A's offi.ces in Singapore, and. remained there until he transferred.

to Bank A's offi.ces in l,ondon in August    z}tl.Trunz   departed Bank A in August 2019

and was an Executive Director at the time of his departure.

       2L.   Co-Conspirators ("CC") 1 through 7 were supervisors, salespeople, and

traders on the Precious Meta1s Desk at Bank A's offices in New York, London, and

Singapore at various times d.uring the Conspiracy Period.

                             The Racketeering Conspiracy

       22.   Between March 2008 and August 2016, the exact dates being unknown

to the Grand Jr*y, in the Northern District of Illinois, Eastern Division,              and

elsewhere, the Defend.ants, together with other individuals known and unknown to
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 8 of 48 PageID #:211




the Grand Jury, being persons employed by and associated with the Precious Metals

Desk at Bank A, an enterprise which engaged in, and the activities of which affected,

interstate and foreign commerce, knowingly and intentionally conspired to violate

Title 18, United States Code, Section       1962(c),    that is, to conduct and participate,

directly and indirectly, in the conduct of the enterprise's affairs through a pattern of

racketeering activity, as that term is   defi.ned.   in Title 18, United States Code, Sections

1961(1) and 1961(5), consisting of multiple acts which are indictable under the

following statutes:

             a.       Title 18, United States Code, Section 1343 (wire fraud affecting a

      financial institution); and

             b.       Title 18, United States Code, Section L344(l) @ank fraud).

       23. It     was a part of the conspiracy that each d.efend.ant agreed. that            a

conspirator would commit at least two acts of racketeering. activity in the conduct of

the affairs of the enterprise

                  The Purposes of the Racketeering Conspiracy

       24.   The purposes of the racketeering conspiracy included the following,

among others:

             a.       Maximizing trading profits and minimizingtrading losses for the

       Defendants and their co-conspirators, the Precious Metals Desk at Bank A,

       and Bank A itself through unlawful trading practices;

             b.       Promoting and enhancing the racketeering conspiracy and the

       activities of the Defendants and their co-conspirators; and




                                               8
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 9 of 48 PageID #:212




             c.      Concealing the unlawful activities of the Defendants and their co-

      conspirators from scrutiny by Bank A, the CME Group, the CFTC, and law

      enforcement.

             Means and Methods of the Racketeering Conspiracv

       Zb. The means and methods by which the Defendants and their
co-conspirators sought    to, and did, achieve the purposes of the              racketeering

conspiracy included the following:

      ZG.    The Defendants and their co-conspirators placed orders to buy and sell

precious metals futures contracts     with the intent to cancel those ord.ers before

execution, including   in an attempt to artifi.cially     affect prices and to profit by

deceiving other market participants. More specifically:

             a.      In thousands of trading     sequences, the Defendants and      their   co-


      conspirators placed one or more orders for precious metals futures contracts

      that they intended to execute ("Genuine Orders"). Sometimes, but not always,

      the Genuine Orders were iceberg orders, so that other market participants

      could. see only a portion of the ordey's   full size at any given time.

             b.      During the same trading sequences, the Defend.ants and their co-

      conspirators also placed one or more ord.ers that they intended to cancel before

      execution ('Deceptive Orders") on the opposite side of the market from the

       Genuine Orders. The Deceptive Orders were not iceberg orders, and so'the             full

       ord.er size was visible to other market paiticipants.




                                            I
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 10 of 48 PageID #:213




         c.     For the most part, the Defendants and their co-conspirators

   placed Deceptive Orders electronically using Globex.       At   times, however,

   certain of them (and in particular JORDAI$) placed Deceptive Orders through

   telephone calls to floor brokers in trading pits.

         d.     Even prior to May 2008, certain precious metals traders at

   Bank A, including JORDAN, were trading in this unlawful manner, typically

   using a single, large Deceptive Ord.er that was many times bigger than the

   visible portion of the opposite-side Genuine Order.

         e.     But when Bank A acquired Bank B in May 2008, SMITH and

   Trunz brought to Bank A a new style of layering multiple Deceptive Orders at

   different prices in rapid succession that, in the aggregate if not individually,

   were substantially larger than the visible portion of the opposite-sid.e Genuine

   Ord.er. This new style of "layering," which was more diffrcult both to execute

   and to detect, took hold on the Precious Metals Desk at Bank A and was

   adopted by, among others, NOWAK, Edmonds, CC-1, CC-z, and CC-5.

         f,     By placing Deceptive Orders, the Defendants and their           co-

   conspirators intended to inject false and misleading information about the

   genuine supply and demand for precious metals futures contracts into the

   markets, and to deceive other participants in those markets into believing

   something untrue, namely      that the visible order book accurately reflected
   market-based forces of supply and demand.




                                        10
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 11 of 48 PageID #:214




          g.       This false and misleading information was intended to, and at

   times did, trick other market participants, including competitor financial

   institutions   and.   proprietary traders, into reacting to the apparent change and

   imbalance in supply and demand by buying and selling precious metals futures

   contracts at quantities, prices, and times that they otherwise likely would not

   have traded.

         h.        By placing Deceptive Ord.ers to buy precious metals futures

   contracts, the Defendants and their co-conspirators intended. to create the false

   impression     in the market of increased.   d.emand   in an effort to drive up the
   prices ofthose futures contracts.

         i.        By placing Deceptive Orders to sell precious metals futures

   contracts, the Defend.ants and their co-conspirators intended to create the false

   impression in the market of increased supply        in an effort to drive   d,own the

   prices ofthose futures contracts.

         j.        In either situation, the Defendants and their co-conspirators
   placed Deceptive Ord.ers with the intent to fraudulently and artificially move

   the price of a given precious metals futures contract in a manner that would

   increase the likelihood that one or more of their own opposite-side Genuine

   Orders would. be filled by other market participants, allowing the Defendants

   and their co-conspirators to generate trad.ing profits and avoid losses for

   themselves and other members of the Precious Metals Desk at Bank A, the

   Precious Metals Desk itself, and ultim4tely, Bank A.




                                           11
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 12 of 48 PageID #:215




              k.     Once the Defendants and their co-conspirators successfully used

       their Deceptive Orders to get their Genuine Orders filled (either in whole or in

      part), they attempted to, and generally did, quickly cancel their Deceptive

       Orders before they could be executed. Sometimes, however, they were unable

      to cancel quickly enough, and had to accept unintended (and unwanted)
      executions of their Deceptive Orders.

              I.     One of the reasons the Defendants and their co-conspiiators used.

      Deceptive Orders     in their trading was to service and benefit key clients,
      including Hedge Funds E and F, which were important sources of revenue and

      market intelligence for the Precious Metals Desk at Bank A. For example,       if
      Hedge Fund E wished to purchase gold, RUFFO would receive the ord"er and

      communlcate it to SMITH, who, with RUFFO's knowledge and encouragement,

      would then place Deceptive Orders to sell gold. futures contracts in order to

      artificially lower the price at which Hedge Fund. E could buy (or the Defendants

      and their co-conspirators could buy on Hedge Fund E's behalfl. BV passing

      along the lower price, the Defendants and their co-conspirators hoped to retain

      Hedge Fund" E's business for the Precious Metals Desk at Bank A.

       27.   The Defendants and their co-conspirators also defrauded clients of Bank

A who had bought or sold barrier options, by trading in a manner that was calculated

to push the price of the underlying assets away from the price point at which Bank   A

would lose money on the. options and toward the price point at which Bank A would

profi.t from the options. More specifically:




                                               t2
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 13 of 48 PageID #:216




              a.     The Defendants and their co-conspirators engaged in barrier-

       running by placing orders for precious metals futures contracts in a manner

       that was intend.ed to deliberately trigger barrier options held by Bank A.

              b.     The Defendants and their co-conspirators also engaged in barrier-

       d,efend,ingby placing orders for precious metals futures contracts in a manner

       that was intended to deliberately avoid triggering barrier options hetd by

       clients of Bank A.

       28.    The Defendants and their co-conspirators perpetuated the racketeering

conspiracy and shielded their unlawful activities from detection and themselves from

discipline by lying to and otherwise d.eceiving Bank A, the CME Group, and the CFTC

about their trad.ing practices. More specifi.cally:

              a.     Bank A relied on employee compliance with internal policies that

      prohibited manipulative, fraud.ulent, and deceptive trad.ing practices.

       Employees ywere required to comply        with these policies and to certifu their

       compliance annually

              b.     Throughout the Conspiracy Period, the Defendants and their

       co-conspirators falsely and fraudulently represented. to Bank A in their annual

       certifi,cations   that they were in    compliance   with all applicable   policies

       promulgated by Bank A.

              c.     Beginning in 2011, the Defendants and their co-conspirators also

       falsely and fraud.ulently represented to Bank A in their annual certifi.cations




                                            13
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 14 of 48 PageID #:217




      that they had reported any known or suspected violations of Bank A s policies,

      or of any laws or regulations applicable to Bank A's business.

            d.      In connection with internal reviews of their trading       practices,

      certain   of the   Defendants and        their   co-conspirators knowingly and

      intentionally made false statements         to   compliance officers and other

      employees of Bank A.

            e.      Certain of the Defend.ants and their co-conspirators knowingly

      and intentionally made false statements to the CME Gloup and the CFTC in

      connection with inquiries into the trading practices of the Defend.ants and their

      co-conspirators.

            Acts in Furtherance of the Racketeering Conspiracy

      29. In furtherance of the racketeering           conspiracy, and   to   achieve its

purposes, the Defend.ants and their co-conspirators committed and caused to be

committed the following acts, among others, in the Northern District of Illinois,

Eastern Division, and elsewhere:

      30. SMITH executed the following trading              sequences, among others,

involving Deceptive Ord.ers, including in connection with orders from Hedge Funds E

and F through RUFFO:

            a.      On May 27, 2008, at 8:39:56.313 a.m., SMITH placed a Genuine

      Order   to seII 7 silver futures         contracts   at   $17.575. Beginning at

      8:40:06.041   a.m., SMITH placed 13 layered Deceptive Orders to buy               7


      contracts each (91 contracts total) from $17.555 to $17.565. Beginning at



                                          t4
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 15 of 48 PageID #:218




   8:40:09.266 a.m.,   all 7 contracts in SMITH's Genuine Order were filled.
  Beginning at 8:40:09.935 a.m., SMITH canceled his Deceptive Orders.

         b.     On   Octob   er   20, 2008,     at   6:37:35.033   8.8., SMITH placed    a

  Genuine Ord.er to seII       7 gold futures contracts at          $800.90. Beginning at

  6:38:28.140   a.m., SMITH placed 11 layered Deceptive Orders to                  bry 7
  contracts each (77 contracts total) from $800.50 to $800.80. Beginning at

  6:38:29.685 a.m., 6 of the 7 contracts        in SMITH's Genuine Order were filled.

  Beginning at 6:38:30 .472 a.m., SMITH canceled. his Deceptive Orders.

         c.     On Febru ary 24, 2009, at 7:35:35.110 a.m,, SMITH placed a

  Genuine Order to sell 7 gold futures contracts              at    $988.90. Begrnning at

  7:36:22.305 a.m., SMITH placed      ll   layered Deceptive Orders to buy 7 contracts

  each   (77    contracts    total) from $988.60 to $988.80. Beginning                  at

  7:36:23.508 a.m., 3 of the 7 contracts        in SMITH's Genuine Order were filIed.

  Beginning at7:36:24.465 a.m., SMITH canceled his Deceptive Orders.

         d.     On May    2L,zl}g,at       8:09:09 .512   a.n.,SMITH     placed. a Genuine

  Order to sell7 gold futures contracts at $939.90. Beginning at 8:09:10.038 a.m.,

  SMITH placed    8 layered.   Deceptive Orders to buy 7 contracts each (56 contracts

  total) from $939.60 to $939.80. Beginning at 8:09:10.409 a.m., all 7 contracts

  in SMITH's Genuine Ord,er were fiIled. Beginning at 8:09:11 .592 a.n.,SMITH

  canceled his Deceptive Orders.

         e.     On November 10, 2009, at 9:28:26.000 a.m., SMITH placed a

  Genuine Order to buy 7 gold futures contracts              at    $1,107.70. Beginning at




                                           15
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 16 of 48 PageID #:219




   9:28:43.2L9 a.m., SMITH placed 13 layered Deceptive Orders to sell 7 contracts

  each (91 contracts total) from $1,108.10            to   $1,107.80. Beginning at

   9:28:45.146   a.m., al] 7 contracts   in   SMITH's Genuine Order were filled.

  Beginning at 9:28:45.500 a.m., SMITH canceled his Deceptive Orders.

         t.      On February 11, 2010, at 9:59:54.723 a.m., SMITH placed a

  Genuine Order to sell 8 gold futures contracts at $1,079.90. Beginning at

  9:59:55.517    a.m., SMITH placed 19 layered Deceptive Orders to buy             8

  contracts each (152 contracts totat) from $1,079.50 to $1,079.80. Beginning at

  9:59:58.440 a.m.,     all 8 contracts in SMITH's Genuine Order were filled.
  Beginning at 9:59:59 .026 a.m.,SMITH canceled his Deceptive Orders.

         g.      On January 5, 2011, at 7:48:47.809 &.D., SMITH placed a

  Genuine Order to sell 10 gold futures contracts at $1,375.70. Beginning at

  7:48:48.370    a.m., SMITH placed      5    layered Deceptive Ord.ers   to buy   10

  contracts each (50 contracts total) from $1,375.50 to $1,375.60. Beginning at

  7:48:48.825 a.m.,    all 10 contracts'in SMITH's Genuine Order were filled.
  Beginning at 7:48:49.382 a.m., SMITH canceled his Deceptive Ord.ers.

         h.      On Novemb er 29, 2011, at 10:16:13.123 &.n., SMITH placed a

  Genuine Order to sell 5 silver futures contracts at $31.800. Beginning at

   10:16:13.850 a.m.,   SMITH placed. 8 layered Deceptive Orders to buy            10

  contracts each (80 contracts total) from $31.770 to $31.790. Beginning at

   10:1-6:15.116 a.m., a1l   5 contracts in SMITH's Genuine Ord"er were filled.

   Beginning at 10:16:15.591   n.r., SMITH canceled his Deceptive    Ord.ers.




                                         16
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 17 of 48 PageID #:220




           i.    On December 12, 201L, at 11:59:36.669 2.D., SMITH placed a

   Genuine Order to sell 5 silver futures contracts at $31.085. Beginning at

   11:59:39.168 a.m., SMITH placed.         5 layered Deceptive Orders to buy        10

   contracts each (50 contracts total) from $31.075 to $31.080. Beginning at

   tr1:59:39.690 a.m.,   aII 5 contracts in SMITH's Genuine Order were filled.

   Beginning at 11:59:40.332 a.ffi., SMITH canceled his Deceptive Orders. This

   sequence was   part of a longer   episod.e,   lasting over 55 minutes, during which

   SMITH placed multiple series of layered Deceptive Orders to buy silver and

   gold futures contracts     in   order   to facilitate the   execution,   at a   more

   advantageous price, of an ord.er from Hedge Fund. E, through RUFFO, to sell

   1.6 million ounces of silver.

          j.    On January 18; 20L2, at 8:39:04.148 a.m., SMITH placed an

  iceberg Genuine Order to sell 10 gold futures contracts at $1,648.40. Beginning

   at   8:39:11.671 a.m., SMITH placed        8 layered Deceptive Orders to buy      10

  contracts each (80 contracts total) from $1,6 47.60 to $1,648.20. Beginning at

   8:39:12.586 a.m.,   all 10 contracts in SMITH's Genuine Order were filled.
  Beginning at 8:39:13.299 a.m., SMITH canceled his Deceptive Orders. This

   sequence was   part of a longer episode, lasting over 50 minutes! during which

   SMITH placed. multiple series of layered Deceptive Orders to buy gold futures

   contracts in order to facilitate the execution , at amore ad.vantageous price, of

   an ord.er from Hedge Fund. F, through RUFFO, to seIl 93,200 ounces of gold.




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Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 18 of 48 PageID #:221




         k.        On May L0,20t2, at 8:29:52.936 a.m., SMITH placed an iceberg

   Genuine Order to buy 10 gold futures contracts at $1,597.80. Beginning at

   8:30:00.798 a.m., SMITH placed 15 layered Deceptive Orders            to sell   10

   contracts each (150 contracts total) from $1,598.50 to $1,597.90. Beginning at

   8:30:02.294 a.m.,    aII 10 contracts in SMITH's Genuine Order were fiIled.
   Beginning at 8:30:03.472 a.m., SMITH canceled his Deceptive Orders.

         1.       On JuIy   L3,2}lz,at 10:00:15.2g38.D., SMITH placed a Genuine

   Order to sell 5 silver futures contracts at $27.375. Beginning at 10:00:15.886

   3..n., SMITH placed 6 layered Deceptive Orders to buy 10 contracts each (60

  contracts totat) from $27.360 to $27.37L.Beginning at 10:00:1 6.42ga.m., all 5

  contracts       in SMITH's Genuine Order were filed. Beginning at
   10:00:17.106 a.m., SMITH canceled his Deceptive Orders.

         m.       On March 5,2013, at 8:59:38.795 a.m., SMITH placed a Genuine

   Order   to seII 10 gold futures       contracts   at   $1,582.70. Beginning at

   8:59:39.25 4   a.m., SMITH placed 17 layered Deceptive Orders to buy            10

   contracts each (170 contracts total) from $1,581.90 to $1,582.60. Beginning at

   8:59:41.849 a.m.,    all 10 contracts in SMITH's Genuine Order were       fi"Iled.

   Beginning at 8:59:42.196 a.m., SMITH canceled his Deceptive Orders.

         n.        On May L4,2013, at 10:21:36.511 a.m., SMITH placed. an iceberg

   Genuine Ord.er     to seII 3 silver futures contracts at   $23.520. Beginning at

   L0:22:20.339    a.m., SMITH placed 8 layered Deceptive Orders to buy            10

   contracts each (80 contracts total) from $23.505 to $23.515. Beginning at



                                       18
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 19 of 48 PageID #:222




   10:22:21.832 a.m.,   all 3 contracts in SMITH's Genuine Order were fiIled.
   Beginning at I0:22:22.L9L n.ffi., SMITH canceled his Deceptive Orders.

         o.    On June 26,20L3, beginning at 9:04:55.4'17 a.m., SMITH placed

   an iceberg Genuine Order to buy 30 gold futures contracts at $1,235.60.

   Beginning at 9:05:21.638 a.m., SMITH placed 22layered Deceptive Orders to

   seII 10 contracts each (220 contracts total) from $1,237.00 to $1,235.80.

  Beginning at 9:05:22.653 a.m., all 30 contracts in SMITH's Genuine Ord.er

  were fiIled. Beginning at 9:05:23.897 a.m., SMITH canceled his Deceptive

  Orders.

         p.    On March 4, 2014, beginning at 7:25:20.414 a.m., SMITH placed

  a Genuine Order to sell 5 gold futures contracts at $1,334.30. Beginning at

  7:25:21.138 a.m., SMITH placed 10 layered Deceptive Qrders           to buy      10

  contracts each (100 contracts total) from $1,334.00 to $1,334.20. Beginning at

  7:25:23.067 a.m.,    all 5 contracts in SMITH's Genuine Order were filled.
  Beginning at 7:25:23.683 a.m., SMITH canceled his Deceptive Orders.

         q.    On March 7,2014, beginning at 8:29:30.509 a.m., SMITH placed

  a Genuine Ord.er to buy 5 silver futures contracts at $20.780. Beginning at

  8:30:07.485 a.m., SMITH placed 6 layered Deceptive Orders to seII   1-0   contracts

  each (60 contracts total) from $20.805 to $20.795. Beginning at
   8:30:07.899 a.m.,   all 5 contracts in SMITH's   Genuine Order were fiIled.

   Beginning at 8:30:08.930 a.m., SMITH canceled his Deceptive Orders.        .




                                     19
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 20 of 48 PageID #:223




          r.    On October 15, 2014, beginning at 8:54:17.030 a.m.; SMITH

  placed a Genuine Order to buy 5 gold futures contracts at $1,242.80. Beginning

   at 8:54:3L090 a.m., SMITH placed 8 layered Deceptive Orders to sell           10

   contracts each (80 contracts total) from $1,243.50 to $1,243.10. Beginning at

   8:54:32.290 a.m., 2 of the 5 contracts   in SMITH's Genuine Order were filled.

  Beginning at 8:54:32.94'l a.m., SMITH canceled his Deceptive Orders.

          s.    On November 26, 2014, beginning at 11:06:0 7.g42 &.8., SMITH

  placed a Genuine Order to buy 2 gold futures contracts at $1,198.20. Beginning

  at ll:06.28.039 &.D., SMITH placed 3 layered Deceptive Orders to sell 10
  contracts each (30 contracts total) from $1,198.50 to $1,198.40. Beginning at

   11:06:29.553 a.m., 1of the 2 contracts in SMITH's Genuine Order were fiIled.

  Beginning at 11:06:29.663 d.o., SMITH canceled his Deceptive Orders.

          t.    On December 1, 2014, beginning at 9:49:20.t47 a.m., SMITH

  placed a Genuine Ord.er to buy 5 gold futures contracts at $1,197.60. Beginning

  at    9:49:28.24L a.m., SMITH placed      4 layered Deceptive Orders to seII   10

  contracts each (40 contracts total) from $1,198.10 to $1,197.80. Beginning at

  9:49:28.759 a.m.,   all 5 contracts in SMITH's Genuine Order were filled.
  Beginning at 9:49:29.525 a.rn., SMITH canceled his Deceptive Orders.

          u.    On December 5, 2014, beginning at 7:09:29.133 a.m., SMITH

  placed. a Genuine Order to buy 3 gold futures contracts at $1,205.40. Beginning

   at   7:09:47.228 a.m,, SMITH placed4layered Deceptive Orders        to   se1I 10

   contracts each (40 contracts total) from $1,205.70 to $1,205.60. Beginning at




                                      20
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 21 of 48 PageID #:224




   7:09:48.364 a.m.,   all 3 contracts in SMITH's Genuine Order were filled.
  Beginning at 7:09:48.479 a.m., SMITH canceled his Deceptive Orders.

          v.      On January 9, 2015, beginning at 9:03:18.573 a.m., SMITH
  placed    a   Genuine Order   to seIl 10 gold futures contracts at      $1,215.80.

  Beginning at 9:03:19.345 a.m., SMITH placed 8 layered Deceptive Orders to

  buy 10 contracts each (80 contracts total) from $1,215.20 to            $1,215.70.

  Beginning at 9:03:21.138 a.m., all 10 contracts in SMITH's Genuine Order

  were fiIled. Beginning at 9:03:21 .624 a.m., SMITH canceled. his Deceptive

  Orders.

         w.      On February 23, 20L5, beginning at 7:42:13.447 a.m., SMITH

  placed a Genuine Order to buy 2 gold futures contracts at $1,200.20. Beginning

  at   7:43:02.015 a.m., SMITH placed.        5 layered Deceptive Orders to sell   10

  contracts each (50 contracts total) from $1,200.50 to $1,200.30. Beginning at

  7:43:02.603 a.m., both contracts       in   SMITH's Genuine Ord.er were filled.

  Beginning at 7:43:03.26L a.m., SMITH canbeled his Deceptive Orders.

         x.      On March 19,2015, beginning at 7:35:01.891 a.m., SMITH placed

  a Genuine Order to selI 4 gold futures contracts at $1,161.50. Beginning at

  7:35:02.372 a.m..,SMITH placed 7 layered Deceptive Orders to buy l-0 contracts

  each (70 iontracts total) from $1,161.20             to   $1,161.30. Beginning at

  7:35:03.451    a.m., all 4 contracts   in   SMITH's Genuine Order were fiIled.

  Beginning at 7:35:04.046 a.m., SMITH canceled his Deceptive Orders.




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   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 22 of 48 PageID #:225




              y.     On   April L7, 20L5, beginning at 7:32:57.989 &.il., SMITH placed

      a Genuine Order to buy 3 gold futures contracts at $1,202.90. Beginning at

      7:34:44.056 a.m., SMITH placed 6 layered Deceptive Orders to sell 10 contracts

      each (60 contracts totat) from $1,203.90           to   $1,203.70. Beginning at

      7:34:44.723.   a.m., aII 3 contracts   in   SMITH's Genuine Ordeq were fiIled.

      Beginning at 7:34:45.527 a.m., SMITH canceled his Deceptive Orders.

      31.     NOWAK executed the following trad.ing sequences, among others,

involving Deceptive Orders:

              a.     On September 22, 2009, at 7:52:L3.329 a.m., NOWAK placed an

      iceberg Genuine Ord.er to seII L0 gold futures contracts at $1,018.60. Beginning

      at   7:52:15.993 a.m., NOWAK placed 7 layered Deceptive Orders to buy 10

      contracts each (70 contracts total) from $1,018.20 to $1,018.50. Beginning at

      7:52:16.935 a.m.,    all 10 contracts in NOWAK's Genuine Order were fiIled.
      Beginning at 7:52:17.120 a.m., NOWAK canceled his Deceptive Orders.

            . b.     On September 25,200.9, at 7:27:!9.234 a.m., NOWAK placed a

      Genuine Order       to sell 10 gold futures contracts at        $996.90. NOWAK

      subsequently was able        to fill 2 of those 10 contracts. Beginning at
      7:27:24.463 a.m., NOWAK placed          6 layered Deceptive Orders to buy      10

      contracts each (60 contracts total) from $996.60        to   $996.70. Beginning at

      7:27:25.241 a.m., the remaining 8 contracts in NOWAK's Genuine Order were

      fiIled. Beginning at7:27:25.713 a.m., NOWAK canceled his Deceptive Orders.




                                             22
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 23 of 48 PageID #:226




           c.    On November'4, 2010; at 10:10:33.508 &.D., NOWAK placed an

   iceberg Genuine Order to buy 10 gold futures contracts at $1,380.70. Beginning

   at   10:L0:36.736   d.n., NOWAK placed 10 layered Deceptive Orders to seII      1-0


   contracts each (100 contracts total) from $1,381:40 to $1,380.80. Beginning at

   10:10:39.537 a.m.,    all   10 contracts   in NOWAKs Genuine Order were filIed.
   Beginning at 10:10:40.1,52 &.D., NOWAK canceled his Deceptive Orders.

           d.    on Decem ber 2i7, zolo,at 11:81:44.863 &.D.,'NowAx placed an

   iceberg Genuine Order to buy 10 gold futures contracts at $1,381.00. Beginning

   at   1L:31:46.865   &.il., NOWAK placed 6 layered Deceptive Ord.ers to sell     L0

   contracts each (60 contracts total) from $1,381.40 to $1,381.10. Beginning at

   ll:3t:47.731 a.m., aII 10 contracts in NOWAK's Genuine Order were filled.

   Beginning at 11:31:48.599 a.il., NOWAK canceled his Deceptive Orders,

           e.    On    April !3,2011, at7:54:3!.181 a.m., NOWAK placed   an iceberg

   Genuine Order to buy 10 gold futures contracts at $1,461.90. Beginning at

   7:54:34.821 a.m., NOWAK placed" 12 layered Deceptive Orders           to sell   10

   contracts each (120 contracts total) from $1,462.70 to $1,462.00. Beginning at

   7:54:39.027 a.m.,     all 10 contracts in NOWAKs Genuine Order were filled.
   Beginning at 7:54:39.732 a.n.; NOWAK canceled his Deceptive Orders.

           f.    OnApril 13,2011, at 8:18:18.411 a.m., NOWAKp1aced. aniceberg

   Genuine Ord.er to buy 10 gold futures contracts           at $1,462.00. NOWAK
   subsequently was able          to filI 2 of those 10 contracts. Beginning at
   8:18:24.656 a.m., NOWAK placed             8 layered Deceptive Orders to sell 10


                                          23
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 24 of 48 PageID #:227




   contracts each (80 contracts total) from $L,462.40 to $1,462.10. Beginning at

   8:18:26.076 a.m., the remaining 8 contracts in NOWAK's Genuine Order were

   filled. Beginning at 8:18,27.055 a.m., NOWAK canceled his Deceptive Oiders.

           g.   On February 6, 2072, at 7:47:4L 128 a.m., NOWAK placed an

   iceberg Genuine Order to seII 5 gold futures contracts at $1,717.80. Beginning

   at   7:47:43.409 a.m., NOWAK placed 11 layered Deceptive Ord.ers     to buy   5


   contracts each (55 contracts total) from $1,716.90 to $1,717.60. Beginning at

   7:47:45.349 a.m., a1l   5 contracts in NOWAKs Genuine Order were filled.
   Beginning at 7:47:46.52'l a.n.,NOWAK canceled. his Deceptive Orders.

          h.    On September 18, 2012, at 9:12:09.458 a.m., NOWAK placed. an

   iceberg Genuine Order to seLl 5 gold futures contracts at $1,772.40. Beginning

   at 9:L2:4L986 a.m., NOWAK placed. 26 layercd Deceptive Orders to buy          5


   contracts each (130 contracts total) from $1,77L.20 to $L,772.30. Beginning at

   9:12:46.390 a.m.,   all 5 contracts in NOWAKs Genuine Order were filled.
   Beginning at 9:L2:48.034 a.m., NOWAK canceled his Deceptive Orders.

          i.    On October 15, 20L2, at 8:30:56.097 a.m., NOWAK placed an

   iceberg Genuine Order to buy 5 gold futures contracts at $L,744.60. NOWAK

   subsequently was able       to fill 2 of those 5    contracts. Begi4ning at

   8:31:07.145 a.m., NOWAK placed      32 layered Deceptive Orders to sell       5


   contracts each (160 contracts total) from $1,745.60 to $1,744.70. Beginning at

   8:31:15.803 a.m., the remaining 3 contractS in NOWAK's Genuine Order were

   fiIled. Beginning at 8:31:18.530 a.m., NOWAK canceled, his Deceptive Orders.



                                     24
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 25 of 48 PageID #:228




          j.    On November 1, 2013, at 7:50:23.384 a.m., NOWAK placed a

   Genuine Ord.er to sell 5 gold futures contracts         at   $1,313.50. Beginning at

   7:50:24.550 &.ffi., NOWAK placed         7 layergd Deceptive Orders to buy 5
  contracts each (35 contracts total) from $1,313.00 to $1,313.40. Beginning at

  7:50:26.263 a.m.,    all 5 contracts in NOWAK's Genuine Order were filled.
  Beginning at 7:50:26.782 a.m., NOWAK canceled his Deceptive Ord"ers.

          k.    On October 1, 2013, at        3:07:.41.863   p.D., NOWAK placed       a

  Genuine Order to sell 5 sold futures contracts           at $1,290.10. Beginning at
  3:07:43.253   p.m., NOWAK placed 14 layered Deceptive Orders to buy                 5


  contracts each (70 contracts total) from $1,289.40 to $1,290.00. Beginning at

  3:O7:45.708 p.m.,    all 5 contracts in NOWAK's Genuine Ord.er were            fiIled.

  Beginning at 3:07:46.503 p.m., NOWAK canceled his Deceptive Orders.

          1.    On Febru ary   7,   2014, beginning   at   8:42:43.173 a.m., NOWAK

  placed a Genuine Ord.er to se1l S gold futures contracts at $1,259.20. Beginning

  at   8:43:35.112 a.m., NOWAK placed 14 layered Deceptive Orders to buy 5

  contracts each (70 contracts total) from $1,258.40 to $1,259.10. Beginning at

  8:43:38.15'l a.m.,   all 5 contracts in NOWAK's Genuine Ord.er were filled.
  Beginning at 8:43:38.857 a.m., NOWAK canceled his Deceptive Orders.

          m.    On February 7, 2014, at 8:53:12.330 a.m., NOWAK placed a

  Genuine Order to seII 5 gold futures contracts           at   $1,260.30. Beginning at

  8:53:15.927   a.m., NOWAK placed       9 layered. Deceptive Orders to buy 5
  contracts each (45 contracts total) from $1,259.50 to $1,260.20. Beginning at




                                       25
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 26 of 48 PageID #:229




      8:53:l-7.381 a.m.,   all 5 contracts in NOWAKs Genuine Order were filled:
      Beginning at 8:53:18.315 a.m., NOWAK canceled his Deceptive Orders.

            n.     On March 3,2014,            8:02:L7 .997 a.m., NOWAK placed a Genuine
                                         .at
      Order to sell 5 gold futures contracts at $1,348.20. Beginning at 8:02:19.360

      d.D., NOWAK placed 6 layered Deceptive Orders to buy 5 contracts each (30

      contracts total) from $1,347.90 to $1,348.10. Beginning at 8:02:21.529 a.m., all

      5   contracts   in   NOWAK     s   Genuine Order were fiIled. Beginning at

      8:02:22.257 a.m., NOWAK canceled his Deceptive Orders.

      32.   JORDAN executed the following trading sequences, among others,

involving Deceptive Orders:

            a.     On September 29,2009, at 7:49:53.973 a.m., JORDAN placed an

      iceberg Genuine Order to buy 15 silver futures contracts at $16.055. JORDAN

      subsequently was able to       filI 5 of those 15 contracts. At       7:49:58.6L3 a.m.,

      JORDAN placed a Deceptive Ord"er to sell 105 contracts at $16.060. Beginning

      at 7:49:58.624 a.m.,the remaining 10 contracts in JORDAN's Genuine Order

      were filled. At7:49:59,575 a.m.,JORDAN canceled his Deceptive Ord.er.

            b.     On September 29,2009, atL2:!7:!0.707 p.D., JORDAN placed. an

      iceberg Genuine Ord"er      to buy 15 silver futures contracts at $16.190. At
      L2:L8:28.091 p.m., JORDAN placed a Deceptive Order to sell 105 contracts at

      $16.195. Beginning    at   12:l-8:28.103   p.r.,   13 of the 15 contracts   in JORDAN's

      Genuine Ord.er were filled.        At    il2:t.8.29.096 p.m., JORDAN canceled his

      Deceptive Ord.er.




                                               26
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 27 of 48 PageID #:230




         c.    On October 15, 2009, at 7:01:19.564 a.m., JORDAN placed an

  iceberg Genuine Order to buy 15 silver futures contracts at $17.440. At

   7:OL:40.679 a.m., JORDAN placed a Deceptive Order to sell 105 contracts at

   $l7.4[L.Beginning at 7:01:40.701 a.m., alt 15 contracts in JORDAN's Genuine

   Order were fiI1ed. At 7:01:4T.639 a.m., JORDAN canceled his Deceptive Order.

         d.    On October 15, 2009, at 9:32:33.976 a.m., JORDAN placed an

  iceberg Genuine Order    to buy 14 silver futures contracts at      $17.615: At

   9192.96.Z24 a.m., JORDAN placed a Deceptive Order     to seII 105 contracts at

   $17.620. Beginning at 9:32:36.248 a.m., alll4contracts in JORDAN's Genuine

   Order were filIed. At9:32:37.180 a.m., JORDAN canceled his Deceptive Order.

         e.    On October 15, 2XXg,at 10:04:05.991 a.m., JORDAN placed an

  iceberg Genuine Order to buy 15 silver futures contracts       at   $17.690. At

   10:04:15.382 a.m., JORDAN placed a Deceptive Order to sell 105 contracts at

   $17.695. Beginning at 10:04:15.418 &.o., 11 of the 15 contracts in JORDAN's

   Genuine Ord.er were filled.   At 10:04:16.1 52 a.m., JORDAN        canceled. his

   Deceptive Order.

         f.    On October 19, 2009, at 9:45:19.150 a.m., JORDAN placed an

   iceberg Genuine Order to buy 15 silver futures contracts at $17.535. At

   9:45:21.288 a.m., JORDAN placed a Deceptive Order to sell 105 contracts at

   $17.540. Beginning 9:45:21..344 a.m., 11 of   the 15 contracts in JoRDAN',s

   Genuine Order were filled.    At   9:45:21.883   a.m., JORDAN canceled his

   Deceptive Order.




                                      27
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 28 of 48 PageID #:231




            g.       On October 26, 2009, at ll:42:32.530 o.ffi., JORDAN placed an

      iceberg Genuine Ord.er to buy 20 silver futures contracts            at   $17.365. At

      tt:42:44.391 a.m., JORDAN placed. a Deceptive Order to sell 105 contracts at

      $17.370. Beginning   at   1,1:42:44.42l ?.ffi., 13 of the 20 contracts in JORDAN's

      Genuine Order were filled.         At   ll:42:45.t84 a.m., JORDAN canceled his

      Deceptive Order.

            h.       On November 10, 2009, at 10:59:35.131        &.r., JORDAN placed an

      iceberg Genuine Order          to sell 25 silver futures contracts at     $17.250. At

      10:59:40.540   a.il., JORDAN placed. a Deceptive     Ord.er to buy 500 contracts at

      $L7.245. Beginning at 10:59:40.554&.r., 16 of tine 25 contracts in JORDAN's

      Genuine Order were fiIled.         At   lO:59:41.488 a.m., JORDAN canceled his

      Deceptive Order.

      33.   CC-1 executed the following trad.ing sequences, among others, involving

Deceptive Orders:

            a.       On Janua   ry   22,20L3, at 4:29:L5.679 a.m., CC-1 placed. a Genuine

      Order to buy 5 silver futures contracts at $32.020. At 4:29:20.273 a.m., CC-1

      placed a Deceptive Order to sell 100 contracts          at   $32.030. Beginning at

      4:29:20.276 a.m.,   all 5 contracts in CC-l's Genuine Ord.er were fiIled. At
      4:29:27.148 a.m., CC-1 canceled. his Deceptive Order.

            b.       On March 8, 2013, at 8:55:39.396 a.m., CC-1 placed an iceberg

      Genuine Order       to sell 15 silver futures         contracts    at     $28.880. At

      8:55:45.69 2 a..m., CC-1 placed      a Deceptive   Ord.er   to buy 100 contractq at



                                              28
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 29 of 48 PageID #:232




      $23.865. Beginning    at 8:55:45.909 a.m., all 15 contracts in CC-l's Genuine

      Order were filled. At 8:55:46.503 a.m., CC-l canceled his Deceptive Order.

            c.      On October 21,2013, at 4:04:49.05'l a.m., CC-1 placed an iceberg

      Genuine Order       to bry l7 gold futures contracts at                        $1,317.10. At

      4:07:02.498 a.m.,   CC-l placed a Deceptive Order to sell 100 contracts at

      $1,317.50. Beginning at 4:07:02.500 &.ffi., a\l L7 contracts              in CC-l's Genuine

      Order were filled. At 4:07:03 .466 a.m., CC-l canceled his Deceptive Order.

            d.      On December 10, 2013, at l:59:22.386 a.ffi., CC-1 placed an

      iceberg Genuine Order to sell 20 silver futures contracts                     at   $19.970. At

      1:59:26.901 a.m., CC-1 placed          a Deceptive Order to buy 100 contracts at

      $19.960. Beginning    at   7:59:26.902 a.m.,        aLL   20 contracts in CC-l's Genuine

      Order were fllIed. At t:59:27.729 a.m., CC-1 canceled his Deceptive Order.

            e.      On January L4,2014, at 9:05:57.063 a.m., CC-1 placed an iceberg

      Genuine Order       to buy 20 silver futures                contracts at $20.4L5.        CC-1

      subsequently was able to    fill   10 of those 20 contracts.      At 9:06:52.127 a.m.,CC-i

      placed a Deceptive Order to sell 100 contracts                   at   $20.425. Beginning at

      9:06:52.225 a.m., the remaining 10 contracts               in   CC-1's Genuine Order were

      filled. At 9:06:53.048 a.m., CC-1 canceled his Deceptive Order.

      34. . CC-z executed the following trading           sequences, among others, involving

Deceptive Orders:

            a.      On November          18, 2009,   at   L0:34:48.576 8.D., CC-Z placed an

      iceberg Genuine Order to sell 50 gold futures contracts                  at   $1,147.60. CC-2




                                               29
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 30 of 48 PageID #:233




   subsequently was able           to filI 15 of those 50 contracts. Beginning           at

   10:39:06.836 a.m., Cc-zplaced 12layered. Deceptive Order to buy 50 contracts

   each (600 contracts total) from $1,146.80               to   $1,147.30. Beginning at

   10:39:09.799 a.m., 34 of the remaining 35 contracts           in   CC-2's Genuine Order

   were fiIled. Beginning       at   10:39:13.807 a.m., CC-2 canceled        his Deceptive

   Orders.

         b.       On June 23, 9,g1g, at 9:40:58.636 a.m., CC-z placed a Genuine

   Order to   se1I 20   silver futures contracts at $18.400. At 9:44:43.562 a.m., CC-z

  placed a Deceptive Order to buy 100 contracts                 at   $18.375. Beginning at

   9:45:04.205 a.m., aII 20 contracts         in   CC-2's Genuine Ord.er were fiIled. At

   9:45:05.921 a.m., Cc-2canceled his Deceptive Order.

         c.       On June 23, 2OlO, at 9:49:54.615 a.m., CC-z placed a Genuine

   Order to seII 20 silver futures contracts at $18.420. At 9:54:00.010 a.m., CC-z

  placed a Deceptive Order to buy 100 contracts at $13.400. Beginning at

   9:54:03.994 a.m.,      all 20 contracts in      CC-2's Genuine Order were filled, At

   9:54:16.119 a.m., CC-z canceled his Deceptive Order.

         d.       On JuIy     2,   IOLO,   at 5:28:29.942 a.m.,      CC-z placed an iceberg

   Genuine Ord.er to sell 50 gold futures contracts at $L,212.70. Beginning at

   5:38:00.156 a.m., C}-2placed 9 layered Deceptive Orders to buy 50 contracts

   each (450 contracts total) from $1,211.90               to   $L,212.20. Beginning at

   5:38:02.714   a.m., aII 50 contracts in CC-2's Genuine Order were fiIled.

   Beginning at 5:38:04.751 a.m., CC-Z canceled his Deceptive Orders.




                                             30
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 31 of 48 PageID #:234




               e.    On February 15,20LL, at 3:37:09.983 a.m., Cc-zplaced a Genuine

      Order     to sell 50 gold futures contracts at               $1,372.60. Beginning at

      3:40:24.440 a.m., CC-z placed 6 layered Deceptive Orders to buy 50 contracts

      each (300 contracts total) from $1,372.00 to $1,372.10. Beginning at

      3:40:27.703   a.m., all 50 contracts in CC-2's Genuine Order were filled.

      Beginning at 3:40:31.881 a.m., CC-z canceled his Deceptive Orders.

      35.      On May 27,2008,      in an electronic chat, CC-3 informed NOWAK that
SMITH 'Just bid     it up to.     seII."   At approximately the     same time, SMITH was

engaged   in the trad.ing sequence involving                 Deceptive Orders alleged. in

Paragraph 30(a) above.

      36.      On February 24,2009, in an electronic chat, Tiunz had the following

conversation with CC-6:

      Trunz:         so you know        its gregg bidding up on the futures trying to
                     get some off
      CC-6:          sweet mate
      Trunz:         Incase you were watching some large bids come into
                     market
      CC-6:          appreesh
      CC-6:          that worked    !

At approximately the same time, SMITH was engaged in the trading                    sequence

involving Deceptive Orders alleged in Paragraph 30(c) above.

      37.      On September 24,         2OOg,   in an electronic chat, CC-3 had the following
conversation with CC-4:

      CQ-3:          I offered a lot of sil switches 100 to 200 a switch.      Spoofed
                     locals aftewr number and hopeful]r mr s h a q
      CC-4:          good man


                                                  31
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 32 of 48 PageID #:235




       38. On November 18, 2009, an                 electronic chat, CC-z informed

NOWAK: "I'm going to seII some gold up here no massive need to be long 50k." At

approximately the same time, CC-z was engaged in the trading sequence involving

Deceptive Orders alleged in Paragraph 34(a) above.

       39.   On June      L6,zlll,in   an electronic chat, JORDAN made statements to

Edmond.s about trad.ers who used algorithms: "they     r   so friggin annoying.   i havent

tried to play any games yet but assuming if i need to get something big d.one itll be

easy to get em. d.oes   that still seem to work?"

       40.   On August 3 and 4, 2OlO, NOWAK was interviewed by the CFTC in

connection with a CFTC inquiry into the manipulation of silver prices. During the

interview, NOWAK knowingly and intentionally gave false answers to questions from

a CFTC investigator, including as follows:

             Question                      NO\ryAK's False Answer
 "To your knowledge, have traders at "No."
 [Bank A] in the metals group put up bids
 or offers to the market which they didn't
 intend to execute and then pulled them
 before they got hit or lifted?"

       4L.   On September 15 and 16, 2010, JORDAN was interviewed by the CFTC

in connection with a CFTC inquiry into the manipulation of silver prices. During the
                                                                                         1




interview, JORDAN knowingly and intentionally gave false answers to questions

from a CFTC investigator, including as follows:




                                             32
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 33 of 48 PageID #:236




               Question                      JORDAN's False Answer
 "While you were working at [Bank Al, t'No."
 did you ever engage in trading for the
 purpose of influencing the price on
 COMEX?'
 "Did you ever show a bid or offler on "Only if it, I would only cancel something
 Globex that you didn't intend to if I changed my mind or if it was put in
 execute?"                             in error, but, no."

      42.    On October L7,20L3, SMITH was interviewed by the CME Group in

connection with a CME Group inquiry into SMITH's trading practices. During the

interview, SMITH knowingly and intentionally gave false answers to questions from

a CME Group investigator, includ.ing with respect to the trad.ing sequence involving

Deceptive Orders alleged in Paragraph 30(o) above, as follows:

              Question                        SMITHIs False Answer
 "Now those sell orders, do you want to 'Absolutely, and absolutely is the
 trade those?"                             answer,   yes.2',


      43.    On the following dates, the Defendants made false and fraudulent

representations   to Bank A when they signed annual compliance attestations to
Bank A that stated:

      I hereby affirm that I have read., understand., and am in compliance with
      the provisions of the [Bank A] Code of Conduct. I also affirm that I am
      in compliance with any supplemental policies that apply to me[.]


      I agree,as a condition of my employment, to comply       with the Code and
      the supplemental policies that apply to me[.]

          Trader                              Date
          SMITH       June 16, 2009; August 16, 2010
          NOWAK       June 25,2008;May 26,2009; June L4,20L0
           RUFFO      May 26,2009; June 10, 2010
         JORDAN       September 23, 2008; JuIy 24,2009


                                         33
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 34 of 48 PageID #:237




      44.    On the following dates, the Defendants made false and fraudulent

representations   to Bank A when they signed annual compliance attestations         to

Bank A that stated.:

      I hereby affi.rm that I have read, understand, and am in compliance with
      the provisions of the [Bank A] Code of Conduct. I also affi.rm that I am
      in compliance with any supplemental policies that apply to me[. . . .] I
      agree, as a condition of my employment, to comply with the Code and
      the supplemental policies that apply to me[.]
      I affi.rm that I have reported any violations of the Cod.e, internal fi.rm
      policies, or laws or regulations applicable to the firm's business which I
      know of or suspect[. . . .]

          Trader                               Date
                       May 27,2011; July 18, 20L2; July 17, 2013;
          SMITH
                       August L3,2Ol4; August L0,2015; July 20, 20LG
                       May 1L, 20Ll; June l,2OL2; June 2L,2013;
          NOWAK
                       August L8,2014; July 8, 20L5; August 5,2016
                       May 27,2011; June 27, 2012; July 12, 2OI3;
          RUFFO
                       July 28, 2014; August 5,20L5; JuIy 12, 20LG

      AIl in violation of Title 18, United States Code, Section 1962(d).

      The SPECIAL MAY IOLIGRAND JURY f.r"th"* charges:


 (conspiracy to commit price    *.rffiffik       Fraud, wire Fraud. Affecting a
            Financial Institution, Commodities Fraud, and Spoofing)

       45.   The allegations in Paragraphs 1 through 16, 18 through        2!, and. 26
through 44 aboveare re-alleged. and incorporated as if fully stated herein.

      46.    Between March 2008 and August 2016, the exact dates being unknown

to the Grand" Jury, in the Northern District of Illinois, Eastern Division,        and

elsewhere, defendants GREGG SMITH, MICHAEL NOWAK, JEFFREY RUFFO,

and CHRISTOPHER JORDAN wiltfully and knowingly conspired with each other,



                                          34
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 35 of 48 PageID #:238




and with other individuals known and unknown to the Grand Jury, to commit certain

offenses against the United States, namely:

            a.     Wire fraud affecting a fi.nancial institution, that is, to knowingly

      and with the intent to defraud, having devised and intending to devise a

      scheme and artifi.ce to defraud, and to obtain money and property by means of

      materially false and fraudulent pretenses, representations, and. promises,

      transmit and cause to be transmitted writings, signs, signals, pictures, and

      sounds by means of wire communication      in interstate and foreign commerce

      for the purpose of executing the scheme and artifi.ce to defraud, all affecting

      one or more fi.nancia1 institutions, including Bank      A and other    financial

      institutions, as well as other participants in the precious metals futures

      markets, in violation of Title 18, United States Code, Section L343;

            b.     Bank fraud, that is, to knowingly and with the intent to defraud,

      execute and attempt to execute a scheme and artifi.ce to defraud one or more

      fi.nhncial institutions, including Bank A and other fi.nancial institutions who

      were participants   in the precious metals futures markets, in violation of
      Title 18, United. States Code, Section 13aa(1);

            c.     Commodities fraud, that is, to knowingly and with the intent to

      defraud", execute and attempt   to execute a scheme and artifice to d.efraud    a

      person in connection with a commodrty for future delivery, that is, gold, silver,

      platinum, and pall2dium futures contracts, in violation of Title 18, United

      States Code, Section 13a8(1);




                                          35
Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 36 of 48 PageID #:239




          d.    Price manipulation, that is, to knowingly and with the intent to

   create an artificial price, by acting with the purpose and conscious object of
                                             i


   causing and effecting a price and price trend in the market that does not reflect

  the legitimate forces of supply and demand, manipulate the price of one or

   more commodities for future delivery (namely, gold, silver, platinum, and

  palladium futures contracts), on and subject to the rules ofa registered entity,

  including COMEX and NYMEX, in violation of Title 7, United States           Cod.e,


   Section 13(a)(2); and

          e.    Spoofi.ng,   that is, to knowingly engage in trading, practice, and

  conduct on and subject to the rules of a registered entity, including COMEX

  and NYMEX, that was "spoofirg," that is bidding and offering with the intent,

  at the time the bid and offer was.placed, to cancel the bid and offer before

  execution, in violation of Title 7, United States Cod.e, Sections 6c(aX5)(C) and

   13(a)(2).

                        Purposes of the Conspiracy

  47.     The purposes of the conspiracy included the following, among others:

          a.    Maximizing trading profi.ts and minimizing losses           for   the

   Defendants and their co-conspirators, the Precious Meta1s Desk at Bank A,

   and Bank A itself through unlawful trading practices;

          b.    Promoting and enhancing the conspiracy and the activities of the

   Defendants and their co-conspirators; and




                                        36
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 37 of 48 PageID #:240




             c.       Concealing the unlawful activities of the Defendants and their co-

       conspirators from scrutiny by Bank        A, the ICME, the CFTC, and law
       enforcement.

                       Manner and Means of the Conspiracy

       48. The manner and means by which the Defendants                  and their   co-


conspirators sought to accomplish and did accomplish the purposes of the conspiracy

included the following:

       49.   The allegations in Paragraphs 26 through 28 above are re-alleged and

incorporated as if fully stated herein.

                                      Overt Acts

      50. In furtherance of the conspiracy,         and   to achieve its purposes,   the

Defendants and their co-conspirators committed. and caused to be committed the

following overt acts, among others, in the Northern District of lllinois, Eastern

Division, and elsewhere:

       51.   The allegations in Paragraphs 30 through 44 above are re-alleged and

incorporated as if fully stated herein.

      AII in violation of Tit1e 18, United States Code, Section 371.

       The SPECIAL MAY 2019 GRAND JURY further charges:

                                  COUNT THREE
                            (Attempted Price Manipulation)

       52.   The allegations in Paragraphs 1 through 16, 18 through 2L;26,27, and

30 above are re-alleged and incorporated as if fully stated herein.




                                            37
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 38 of 48 PageID #:241




       53.    From January 2008 until June 2015, the exact dates being unknown to

the Grand Jury, in the Northern District of Illinois, Eastern Division, and elsewhere,

the defendant, GREGG SMITH, did knowingly and with the intent to create an

artificial price, that is, acting with the purpose and conscious object of causing and

effecting a price and price trend in the market that does not reflect the legitimate

forces of supply and demand, attempt to manipulate the price of a commodity for

future delivery (namely,   go1d.,   silver, platinum, and palladium futures contracts), on

and. subject to the rules of a registered.   entity, including COMEX and NffiVIEX.

       54.    In furtherance thereof, SMITH did commit, and cause to be committed,

the overt acts alleged in Paragraph 30 above, among others, in the Northern District

of Illinois, Eastern Division, and elsewhere.

       AII in violation of Title 7, United States       Cod.e,   Section 13(a)(2).

       The SPECIAL MAY 2OLg GRAND JURY further charges:

                                   COUNT FOUR
                            (Attempted Price Manipulation)

       55.    The allegations in Paragraphs 1 through 16, 18 through 21,26,27, and.

31 above are re-alleged and incorporated as          if fully   stated. herein.

       56.    From May 2008 until       April   2014, the exact dates being unknown to the

Grand Jury, in the Northern District of Illinois, Eastern Division, and elsewhere, the

defendant, MICHAEL NOWAK, did knowingly and- with the intent to create an

artificial price, that is, acting with the purpose and conscious object of causing and

effecting a price and price trend in the market that does not reflect the legitimate

forces of supply and d.emand, attempt to manipulate the price of a commod.ity for



                                                38
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 39 of 48 PageID #:242




future d.elivery (namely, gold, silver, platinum, and palladium futures contracts), on

and subject to the rules of a registered entity, including COMEX and NM\4EX.

          57.   In furtherance thereof, NOWAK did commit, and cause to be committed.,

the overt acts alleged in Paragraph 31 above, among others, in the Northern District

of Illinois, Eastern Division, and elsewhere.

      A[ in violation of Title 7, United States Code, Section 13(aX2).
      The SPECIAL MAY 2019 GRAND JURY further charges:

                                       COUNT FTYE
                                       @ank Fraud)
      58.       The allegations in Paragraphs 1 through 15, !7 through 20,2,5 through

27,29, and 40 through 42      abotve   are re'alleged and incorporated as   if fulty stated
herein.

      59.       Beginning in May 2008 and continuing until June zlLl,the exact dates

being unknown to the Grand Jury, in the Northern District of Illinois, Eastern

Division, and elsewhere, the d.efendant, GREGG SMITH, while a precious metals

trader at Bank A, knowingly and with the intent to.defraud executed and attempted

to execute a     scheme and artifice    to defraud one or more fi.nancial institutions,
including Bank A and other fi.nancia1 institutions who were participants in the

precious metals futures markets.

      AII in violation of Tit1e 18, United States Code, Section L344(l).
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                                             39
     Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 40 of 48 PageID #:243




         The SPECIAL MAY IOL|GRAND JURY further chatses:

                                       COUNT SD(
                                       (Bank Fraud)

         60.    The allegations in Paragraphs 1 through L5,17 through 20,25 through
                                                                         :



27, 30, 34, 37, 41, and 42 above are re-alleged and incorporated as          if fully stated
herein.

         61.    Beginning in May 2008 and continuing until April 20L4, the exact dates

being unknown to the Grand. Jury,        in the Northern District of lllinois, Eastern
Division, and elsewhere, the defendant, MICHAEL NOWAK, while a supervisor and

precious metals trader at Bank A, knowingly and with the intent to d.efraud executed.

and attempted to execute a scheme and artifi.ce to defraud. one or more financial

institutions, including Bank A and other financial institutions who were participants

in the precious metals futures markets.

        All in violation of Title 18, United States Code, Section L344(l).

         The SPECIAL MAY 2019 GRA.ND JURY further charges:

                                     COUNT SEVEN
                                      (Bank Fraud)

          62.   The allegations in Paragraphs 1 through 75,17 th.rough 20,25 through

27   , 31,38, 39, and 41 above are re-alleged and incorporated as if fully stated herein.

         63.    Beginning in January.2008 and continuing until October zlili*,the exact

dates being unknown to the Grand. Jury, in the Northern District of Illinois, Eastern

Division, and elsewhere, the d.efendant, CHRISTOPHER JORDAN, while a precious

metals trader at Banks A and C and Company D, knowingly and with the intent to

d.efraud executed and attempted to execute a scheme and artifi.ce to defraud one or


                                            40
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 41 of 48 PageID #:244




more fi.nancial institutions, including Banks A and C and other financial institutions

who were participants in the precious metals futures markets.

      All in violation of Title   18, United States Code, Section L344(l).

      The SPECIAL MAY 20Lg GRAND JURY further charges:

                                    COUNT EIGHT
                      flMire Fraud Affecting a Financial Institution)

          64.   The allegations in Paragraphs 1 through 16, 18 through 21,26 through

28, 30, and 42 through 44 above are re-alleged and incorporated as           if fully   stated

herein.

      65.       Beginning in May 2008 and continuing until June 20L5, the exact dates

being unknown to the Grand Jrry,          in the Northern District of Illinois,    Eastern

Division, and. elsewhere, the d.efend.ant, GREGG SMITH, knowingly and with the

intent to defraud., having devised and intend.ing to devise a scheme and artifice to

defraud, and to obtain money and property by means of materially false and

fraudulent pretenses, representations, and.promises, transmitted and caused to be

transmitted certain writings, signs, signals, pictures, and sounds by means of wire

communication in interstate and foreign commerce for the purpose of executing the

scheme and artifice to d.efraud, includ.ing the Deceptive Orders alleged in Paragraph

30 above, all affecting one or more financial institutions, including Bank A and. other

financial institutions, as well as other participants in the precious metals futures

markets.

      All in violation of Title 18, United States Code, Section 1343.




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      Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 42 of 48 PageID #:245




         The SPECIAL MAY 20tg GRAND ruRY further charges:

                                    COUNT NINE
                      @ire Fraud Affecting a Financial lnstitution)

         66.   The allegations in Paragraphs 1 through 16, 18 through 2i.,26through

28,   3!,35, 38, 40, 43, and, 4ft above are re-alleged and incorporated. as if fully stated

herein.

         67.   Beginning in May 2008 and continuing until April 2014, the exact dates

being unknown to the Grand Jury, in the Northern District of Illinois, Eastern

Division, and elsewhere, the defendant, MICIIAEL NOWAK, knowingly and with the

intent to defraud, having     d.evised. and   intending to d.evise a scheme and artifi.ce to

d,efraud, and    to obtain money and property by means of materially false              and

fraud"ulent pretenses, representations, and promises, transmitted and caused to be

transmitted certain writings, signs, signals, pictures, and sounds by means of wire

communication in interstate and foreign commerce for the purpose of executing the

scheme and artifice to defraud, including the Deceptive Ord.ers alleged       in Paragraph

31 q.bove, all affecting one or more fi,nancial institutions, including Bank A and other

financial institutions, as well as other participants in the precious metals futures

markets.

         AII in violation of Title 18, United States Code, Section 1343.




                                               42
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 43 of 48 PageID #:246




      The SPECIAL MAY 20Lg GRAND JURY further charges:

                                       COUNT TEN
                       @ire   Fraud. Affecting a Financial     Institution)

      68.        The allegations in Paragraphs     1"   through 16, 18 through 2L,26 through

28, 32, 39, 4I, and 43 above are re-alleged and. incorporated as        if fully stated. herein.

      69.        Beginning in January 2008 and continuing until October 207L, the exact

dates being unknown to the Grand Jury, in the Northern District of Illinois, Eastern

Division, and elsewhere, the defendant, CHRISTOPHER JORDAN, knowingly and

with the intent to     defraud., having d.evised and intending       to devise a scheme and

artifi.ce to d.efraud, and to obtain money and property by means of materially false

and fraudulent pretenses, representations, and. promises, transmitted and caused to

be transmitted certain writings, signs, signals, pictures, and sounds by means of wire

communication in interstate and foreign commerce for the purpose of executing the

scheme and artifi.ce to defraud., includ.ing the Deceptive Orders alleged" in Paragraph

32 above, all affecting one or more financial institutions, including Banks A and C

and other financial institutions, as well as other participants in the precious metals

futures markets.

      All in violation of Title   18, United States Code, Section 1343.

      The SPECIAL MAY 2019 GRAND JURY further charges:

                                     COUNT ELEVEN
                                    (Commodities Fraud)

          70.    The allegations in Paragraphs 1 through 16, L8 through 21,26 through

28, 30,   and.   42 through 44 above are re-aIIeged. and incorporated as        if fu1ly stated
                   :




herein.


                                              43
      Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 44 of 48 PageID #:247




          71.   From May 20, 2009, uritil June 2015, the exact dates being unknown to

the Grand Jury, in the Northern District of Illinois, Eastern Division, and elsewhere,

the defend.ant, GREGG SMITH, knowingly and with the intent to d.efraud executed.

and attempted to execute a scheme and artifice to defraud a person               in connection

with a commodity for future delivery, that is, gold., silver, platinum, and palladium

futures contracts.

        All in violation of Title   18, United States Code, Section 1348(1).

         The SPECIAL MAY zOLg GRAND JURY further charges:

                                       COUNT TWELVE
                                      (Commodities Fraud)

         72.    The allegations in Paragraphs 1 through 16, 18 through 2L,26 through

28,   g!,35, 38, 40, 43, and, 44 above are re-alleged and incorporated      as   if fully stated

herein.

          73.   From May 20,2009, until April 2014, the exact dates being unknown to

the Grand Jury, in the Northern District of Illinois, Eastern Division, and elsewhere,

the d.efendant, MICHAEL NOWAK, knowingly and with the intent to defraud
executed and attempted. to execute a scheme and artifi.ce to defraud a person in

connection with a commodity for future delivery, that is, gold, silver, platinum, and

palladium futures contracts.

         A1I in violation of   Title 18, United. States Code, Section 1343(1).




                                                44
    Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 45 of 48 PageID #:248




        The SPECIAL MAY 20Lg GRAND JURY further charges:

                                    COUNT THIRTEEN
                                          (Spoofing)

        74.      The allegations in Paragraphs 1 through 16, 18 through 2i^,26,and 30

above are re-alleged and incorporated. as if      fully stated herein.

        75.      From JuIy 16,   z}ll,until   June   2}tl,in   the Northern District of Illinois,

Eastern Division, and elsewhere, the d.efendant, GREGG SMITH, knowingly engaged

in trading, practice, and cond.uct on and subject to the rules of a registered entity,
including COMEX and NYMEX, that was "spoofirg," that is, bidding and offering

with the intent, at the time the bid and offer was placed, to cancel the bid and offer

before execution, by causing to be transmitted, to a CME Group server, orders for

gold., silver,   platinum, and palladium futures contractg.

       All in violation of Title 7, United States Code, Sections 6c(a)(5)(C) and 13(a)(2).

        The SPECIAL MAY 2019 GRAND JURY further charges:

                                    COUNT FOURTEEN
                                          (Spoofing)

        76.      The allegations in Paragraphs 1 through 16, 18 through 2L,26, and 3l-

above are re-alleged and incorporated. as if      fully stated herein.

        77.      From July 16, 201,1, until   April z}I4,in the Northern District     of   Illinois,

Eastern Division, and elsewhere, the defendant, MICIIAEL NOWAK, knowingly

engaged in trading, practice, and conduct on and subject to the rules of a registered

entity, including COMEX and NYMEX, that was "spoofirg," that is, bidding and

offering with the intent, at the time the bid and offer was placed, to cancel the bid




                                                45
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 46 of 48 PageID #:249




and offer before execution, by causing to be transmitted, to a CME Group serve.r,

orders for gold, silver, platinum, and palladium futures contracts.

       All in violation of Title 7, United States Code, Sections 6c(a)(5)(C) and 13(a)(2).

       The SPECIAL MAY z}tg GRAND JURY further charges:

                 CRIMINAL FORFtITURE ALLEGATION ONE

       78.   The allegations in Count One of this Superseding Indictment are re-

alleged and incorporated as if fulty stated herein for the purpose of alleging forfeiture

to the United States pursuant to Title 18, United. States Code, Sections 1963(aX1)

and (3).

       79.   Upon conviction of the felony racketeering conspiracy offense charged in

Count One of this Supersed.ing Indictment, any of the Defendants convicted. of such

offense shall forfeit to the United States any and all right,    title, and interest they

have   in any property, reai and personal, which the Defendants havd acquired.            or

maintained in violation of Title 18, United States Code, Section 1962, or which

constitutes, or is derived from, any proceeds obtained, d.irectly or indirectly, from

racketeering activity in violation of Title 18, United States Code, Section 1962.

       80. If any of the above-described.    forfeitable property, as a result of any act

or omission of the Defendants, cannot be located upon the exercise of due diligence;

has been transferred, sold to, or deposited with a third party; has been placed beyond

the jurisdiction of the court; has been substantially diminished in value; or has been

commingled with other property which cannot be divided without difficulty;        it   is the

intent of the lJnited States, pursuant to Title 18, United States Code, Section



                                            46
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 47 of 48 PageID #:250




1963(m), to seek forfeiture of any other substitute property of the Defendants up to

the value of the forfeitable property described above.

      .AIl pursuant to Title 18, United States Code, Sections 7962,1963(a)(1) and (3),

and 1963(m).



       81. The allegations in       Counts Five through Ten of this Superseding

Indictment are re-alleged and incorporated as if fully stated herein for the purpose of

alleging forfeiture to the United States pursuant to the provisions of Tit1e 18, United

States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c).

       82-   Upon conviction of one or more of the felony fraud offenses alleged in

Counts Five through Ten of this Superseding Indictment, any of the defendants

GREGG SMITH, MICIIAEL NOWAK, and CHRISTOPHER JORDAN convicted of

such offense(s) shall forfeit to the United States any and all right,   title, and interest

they have in any property, real and personal, which constitutes, or is derived from,

any proceeds obtained, directly or indirectly, from violations of Title 18, United. States

Code, Sections 1343 or 1344(1).

      83. Ifany ofthe above-described        forfeitable property, as a result ofany act

or omission of the said defendants, cannot be located upon the exercise of             due

diligence; has been transferred, sold to, or deposited with a third party; has been

placed beyond the jurisdiction of the court; has been substantially diminished in

value; or has been commingled with other property which cannot be divided without

difficulty; it is the intent of the United States, pursuant to Title 21, United States



                                           47
   Case: 1:19-cr-00669 Document #: 52 Filed: 11/14/19 Page 48 of 48 PageID #:251




Code, Section 853b), as incorporated by Title 28, United States Code, Section 2461(c),

to seek forfeiture of any other substitute property of the said. defendants up to the

value of the forfeitable property described above.

      AII pursuant to Title 18, United States Code, Section 981(a)(1), as incorporated

by Title 28, United States Code, Section 246L(c), and Rule 32.2(a) of the Federal Rules

of Criminal Procedure.


                                               A TRUE BILL;



                                               FOREPERSON



ROBERT A. ZINK
Chief, Fraud Section



Avi Perry, Assistant Chief, Fraud Section '
Matthew F. Sullivan, Trial Attorney, Fraud Section

Criminal Division
U.S. Department of Justice




                                          48
